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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL                                No. 12-md-2323-AB
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                       MDL No. 2323

THIS DOCUMENT RELATES TO:                               Hon. Anita B. Brody

Pugh, et al. v. Nat’l Football League, et al.           No. 12-cv-1165


               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

               PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil

Procedure 41(a)(1), Plaintiffs Jon Arnett and Jane Arnett (collectively, “Plaintiffs”) are

voluntarily dismissing with prejudice all their claims against defendants National

Football League and NFL Properties LLC in the above-captioned action, as set forth in

the March 5, 2012 complaint filed in the above-captioned action (ECF No. 1), the Second

Amended Master Administrative Long-Form Complaint (MDL No. 2323, ECF

No. 8026), and Plaintiffs’ related Short Form Complaints (ECF Nos. 23, 91; MDL

No. 2323, ECF Nos. 456, 7977), with each party to bear their own costs, expenses, and

attorneys’ fees.




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Dated: April 17, 2019

                                    Respectfully submitted,



                                    ____________________________________
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                            CERTIFICATE OF SERVICE

               The undersigned hereby certifies that on April 17, 2019, a copy of the

foregoing was served via the Court’s electronic filing system upon all counsel of record.




                                             __________________________________
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